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                                                                                          MAY 13 2022
                                UNITED STATES DISTRJCT COURT
                                                                                           ANGELA E. NOBLE
                                SOUTHERN DISTRJCT OF FLORIDA                              CLERK U.S . DIST. CT.
                                                                                          S.D. OF FLA. - W.P.B.


                                 CASE NO.:    __._l_f_-:-_c_r-_ -_ ~_o_l_(;____
  UNITED STATES OF AMERJCA,
                  Plaintiff,
                                                                  NOTICE OF TEMPORARY
  V.                                                       . \l   APPEARANCE AS COUNSEL
 (!   la_vd_l' 6.-- f)t,.._~; LJ (,A_ C), &-7-          C1~' e.. (\
                         Defendant.
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                                                             lJe.s c~( 'LU                       and

  files this temporary appearance as counsel for the above named defendant(s) at initial appearance.

  This appearance is made with the understanding that the undersigned counsel will fulfill any

  obligations imposed by the Court such as preparing and filing documents necessary to

  collateralize any personal surety bond which may be set.

  Counsel's Name (Print•~                    -' _.s_·   s_4________
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  Counsel's Signature:

  Address (include City/State/Zip Code):



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